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            [ORAL ARGUMENT SCHEDULED FOR APRIL 24]

             IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


UNITED STATES STEEL
 CORPORATION, et al.,

                      Petitioners,                             No. 25-1004

                 v.

COMMITTEE ON FOREIGN
  INVESTMENT IN THE UNITED
  STATES, et al.,

                   Respondents.




           CONSENT MOTION FOR EXTENSION OF TIME
          TO FILE CLASSIFIED ADMINISTRATIVE RECORD
                AND RESPONSE AND REPLY BRIEFS

      Pursuant to Federal Rule of Appellate Procedure 26(b) and D.C. Circuit

Rule 28(e), the government respectfully moves for a 21-day extension of the

due dates for the response and reply briefs in this case, as well as for the filing

of the classified portions of the Administrative Record; and for the

rescheduling of the oral argument. Petitioners consent to this motion. In

support of this motion, the government states the following:

      1. This petition for review, filed under 50 U.S.C. § 4565(e)(2), seeks
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review of the Presidential Order Regarding the Proposed Acquisition of

United States Steel Corporation by Nippon Steel Corporation, 90 Fed. Reg.

2605 (Jan. 3, 2025), and the related referral to the President by the Committee

on Foreign Investment in the United States. Petitioners filed their opening brief

on February 3, 2025.

      Under this Court’s order of February 27, 2025, the government is

required to file its response brief and the classified portions of the

Administrative Record by March 17, 2025, and petitioners’ reply brief is due

on March 31, 2025. This Court has set oral argument for April 24, 2025.

      2. The government respectfully requests that the briefing deadlines be

extended by 21 days to April 7, 2025, and April 21, 2025, respectively. It also

respectfully requests that the oral argument be removed from the April 24

calendar and rescheduled for the week of May 12, if that is convenient for the

Court. The requested extension will allow the government to complete its

ongoing discussions with the parties regarding the U.S. Steel and Nippon Steel

transaction with the goal of eliminating the need for this Court’s resolution of

the litigation on the merits.

      3. Counsel for petitioners have informed the government that petitioners

consent to this motion.



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                                            Respectfully submitted,

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MARCH 2025




*
    The Acting Assistant Attorney General is recused in this matter.
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                    CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing complies with the type-volume

limitation of Fed. R. App. P. 27(d)(2) because it contains 308 words, according

to the count of Microsoft Word.


                                            /s/ Catherine Padhi
                                            Catherine Padhi




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